          Case 3:17-cv-05806-RJB Document 389 Filed 05/08/20 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                        UNITED STATES COURTHOUSE AT UNION STATION
                              1717 Pacific Avenue, Room 4427
                              Tacoma, Washington 98402-3224


ROBERT J. BRYAN                                                                   Telephone:
United States District Judge                                                  (253) 882-3870
                                          May 8, 2020



TO:       All Counsel in:      C17-5806RJB, State of Washington v The GEO Group, Inc.
                               C17-5769RJB, Nwauzor et al v The GEO Group, Inc.

FROM: Judge Robert J. Bryan

Dear Counsel:

       Plaintiffs in both cases have filed extensive depositions, with objections marked
appropriately, electronically in CM/ECF. At the Pretrial Conference, I requested the page
numbers of the objections so I would not have to flip through each deposition, searching
for objections. (The depositions filed now total 2,212 pages). I have not received any
such page listings.

      Also, after reviewing some of the depositions filed, it is clear that I will need hard
copies to accurately and efficiently rule on the objections.

       So, if you want rulings on the deposition objections before trial, please get marked
up hard copies and page number lists to me as soon as you can – say by May 15, 2020?
Please coordinate delivery with my Courtroom Deputy, Tyler Campbell, via email at
tyler_campbell@wawd.uscourts.gov.

      If you do not intend to use some of the depositions as part of your cases-in-chief,
and do not need advance rulings, you can omit those depositions.


                                     Sincerely,


                                     A
                                     ROBERT J. BRYAN
                                     United States District Judge


RJB/jvl
